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|N THE UN|TED STATES D|STR|CT COURT
FOR THE MlDDLE D|STR|CT OF PENNSYLVAN|A

uNiTEi) sTATEs oF AMERicA,
v. § 3:17-cR-298
puer iiiiARiANi)
JosE Luis coNzALEz, sR.,

Defendant.

ORDER

 

The background of this Order is as follows:

On June 4, 2018, Defendant Jose Luis Gonzalez, Sr., filed 8 pretrial motions,
requesting various relief including the disclosure of confidential informants, the
Government’s expert information, discovery pursuant to Federal Rule of Criminal Procedure
16, grand jury transcripts, information under Federal Rules of Evidence 404(b), 609, and
807, a bill of particulars, and a hearing to establish the existence of a conspiracy. (See
Docs. 215-222).

Upon review of the docket, Defendant Gonzalez Sr.’s time for filing pre-trial motions
expired on June 1, 2018 (Doc. 207). Despite the fact that the clear language of the Order
which set the deadline for the filing of pre-trial extensions stated that “no further motions for
an extension of time to file pre-trial motions will be granted" (see id.), Defendant’s counsel

seemingly believed June 1, 2018, to be a suggested, approximate, date, and three days

 

 

 

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after the Court’s deadline, filed the aforementioned 8 motions without acknowledgment or
explanation for their tardiness1
ACCORD|NGLY, TH|S 5TH DAY OF JUNE, 2018, lT lS HEREBY ORDERED THAT:
1. 0n or before Friday, June 8, 2018, Counse| for defendant Jose Luis Gonza|ez, Sr.,
shall SHOW CAUSE why this Court should not deny Defendant’s motions as
untimely.
2. The time for the United States to file a response or brief in opposition to Defendant’s
motion will not begin to run until Defendant’s counsel has filed his response to the

show cause order and the Court has issued an Order addressing such response.

 

Rloberi o.o__Mapidii
United States District Judge

 

 

1 ln light of the fact that Defendant’s brief is, in essence, merely a copy/paste of co-defendant
Joevany Gonzalez' brief (compare Doc. 223 with Doc. 139), a fact alone which troubles the Court, it is even
more inexcusable that Defendant’s counsel was unable to timely file his motions and accompanying brief
given that, with the exception of a small number of non-substantive alterations, counsel did not actually
write the submitted brief.

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